Case 1:19-cv-22424-UU Document 1-4 Entered on FLSD Docket 06/11/2019 Page 1 of 4




                            EXHIBIT “C”
Filing #Case
         88386739  E-Filed 04/23/2019
             1:19-cv-22424-UU         01:14:55
                                Document       PM on FLSD Docket 06/11/2019 Page 2 of 4
                                         1-4 Entered




      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
      IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      CASE NO.: 2016-029497-CA-01
      SECTION: CA23
      JUDGE: Barbara Areces

      JJ RENDON & ASSOCIATES STRATEGIC CREATIVITY LLC
      Plaintiff(s) / Petitioner(s)
      vs.
      ROBERTO ARZU
      Defendant(s) / Respondent(s)
      ____________________________/

                                     WRIT OF BODILY ATTACHMENT

      TO ALL THE SHERIFFS OF THE STATE OF FLORIDA:

                                      WRIT OF BODILY ATTACHMENT

      THIS CAUSE came before this Court on Wednesday, April 17, 2019 at 9:00 a.m. on a Hearing
      to Show Cause as to why Defendant Roberto Arzu (“Arzu”) should not be held in contempt of
      Court for his failure to comply with the Court’s April 4, 2019 Order to Show Cause. Based on
      the foregoing, it is ORDERED AND ADJUDGED as follows:

      1.      This Court finds that Arzu is in civil contempt of Court by virtue of his failure to appear
      for the April 17, 2019 hearing as required by the Court’s April 4, 2019 Order to Show Cause.

      2.       This Court orders that the Sheriff shall take Arzu into custody, if found in the State of
      Florida.

      3.     This Court further orders that the Sheriff shall hold Arzu in safe keeping, and produce
      Arzu before a first appearance Judge within 24 hours of his detention, so that the first
      appearance Judge may order the Miami-Dade County Sheriff’s Office to produce Arzu to this
      Court on the following business day or, if the following business day is a Saturday, Sunday, or
      legal holiday, on the next business day following, whereby Arzu shall be provided an
      opportunity to comply with this Court’s April 4, 2019 Order to Show Cause, and otherwise
      purge himself of contempt. There is no bond. Arzu may purge his contempt by submitting to
      a deposition in aid of execution.

      4.      This Court further orders that the Miami-Dade County Sheriff’s Office shall notify this
      Court [305-349-7044] of Arzu’s detention and the execution of this Writ no later than 4:00 p.m.
Case 1:19-cv-22424-UU Document 1-4 Entered on FLSD Docket 06/11/2019 Page 3 of 4
                                                                         CaseNo: 2016-029497-CA-01
                                                                         Page 2 of 3




the day after Arzu is first detained or, if the day of initial detention is a Saturday, Sunday, or
legal holiday, on the next business day following. The Court’s chambers will then promptly
notify Plaintiff’s counsel, Jesus Cuza, Esq. at Holland & Knight LLP, by telephone (305-789-
7513) and email (jesus.cuza@hklaw.com; monica.castro@hklaw.com; and
ericka.garcia@hklaw.com) of the hearing date and time.

5.        The descriptive information for Arzu is as follows:

Full name:       Roberto Arzu

Home address: 4 Avenue 28-50, Zona 14, Guatemala City, Guatemala

Race: Hispanic

Sex:      Male

Date of Birth: Unknown

Height:     Unknown.



DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 23rd day of April,
2019.




                                                         2016-029497-CA-01 04-23-2019 1:14 PM
                                                         Hon. Barbara Areces

                                                         CIRCUIT COURT JUDGE
                                                         Electronically Signed



     No Further Judicial Action Required on THIS MOTION

     CLERK TO RECLOSE CASE IF POST JUDGMENT



Copies Furnished To:
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Case 1:19-cv-22424-UU Document 1-4 Entered on FLSD Docket 06/11/2019 Page 4 of 4
                                                            CaseNo: 2016-029497-CA-01
                                                            Page 3 of 3




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